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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                 Case No: 7:21-cv-11141
                                      §
vs.                                   §                 PATENT CASE
                                      §
DARIOHEALTH CORP.,                    §                 JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §
                            PLAINTIFF’S RULE 7.1 STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for Display Technologies, LLC a private non-governmental property, certifies that the

names of all associations, firms, partnerships, corporations, and other artificial entities that either

are related to the plaintiff as a parent, subsidiary, or otherwise, or have a direct or indirect

pecuniary interest in the plaintiff’s outcome in the case are below:

        Patent Asset Management, LLC


Dated: December 29, 2021.                       Respectfully submitted,

                                                /s/ Jay Johnson
                                                JAY JOHNSON (pro hac vice forthcoming)
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